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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                        *    CRIMINAL NO. 12-0020-01


 VERSUS                                          *    JUDGE ROBERT G. JAMES


 WLODZIMIERZ KUROWSKI                            *    MAG. JUDGE KAREN L. HAYES


                                     JUDGMENT

        The Report and Recommendation of the Magistrate Judge, having been considered, no

objections thereto having been filed, and finding that same is supported by the law and the record

in this matter,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

accepts the guilty plea of the defendant, Wlodzimierz Kurowski, and adjudges him guilty of the

offense charged in Count 22 of the indictment against him.

        THUS DONE AND SIGNED in Chambers, this 7th day of August, Monroe, Louisiana.
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                                             73



                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                         *     CRIMINAL NO. 12-0020-01


 VERSUS                                           *     JUDGE ROBERT G. JAMES


 WLODZIMIERZ KUROWSKI                             *     MAG. JUDGE KAREN L. HAYES


                                      JUDGMENT

       The Report and Recommendation of the Magistrate Judge, having been considered,

together with the written objections thereto filed with this Court, and, after a de novo review of

the record, finding that the Magistrate Judge's Report and Recommendation is correct and that

judgment as recommended therein is warranted,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

accepts the guilty plea of the defendant, Wlodzimierz Kurowski, and adjudges him guilty of the

offense charged in Count 22 of the indictment against him.

       THUS DONE AND SIGNED in chambers, this ______ day of _____________________

2012, Monroe, Louisiana.



                                                   ______________________________________
                                                     ROBERT G. JAMES
                                                     UNITED STATES DISTRICT JUDGE
